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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, No. CR19-172-JLR
Plaintiff, PROBASEE: \\ awe

FINAL ORDER OF FORFEITURE
ERIC SANFORD,

Defendant.

 

 

THIS MATTER comes before the Court on the United States’ Motion for Entry of a
Final Order of Forfeiture (“Motion”) for the following property (“Subject Firearm”):

1. One Smith & Wesson M&P 9 Pro Series Cal. 9 Pistol, Serial No. HKD5011;

and

2. Any associated cartridges and ammunition.

The Court, having reviewed the United States’ Motion, as well as the other
pleadings and papers filed in this matter, hereby FINDS entry of a Final Order of
Forfeiture is appropriate because:

e On August 7, 2020, the Court entered a Preliminary Order of Forfeiture
finding the Subject Firearm forfeitable pursuant to 18 U.S.C. § 924(d)(1), by

Final Order of Forfeiture - | UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

United States v. Sanford, CR19-172-JLR SEATTLE: WASHINGTON DETDI
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way of 28 U.S.C. § 2461(c), and forfeiting Defendant’s interest in it,

Dkt. No. 60:

Thereafter, the United States published notice of the pending forfeiture as
required by 21 U.S.C. § 853(n)(1) and Federal Rule of Criminal Procedure
32.2(b)(6)(C), Dkt. No. 66, and provided direct notice to Mr. Brian
Radziwanowicz as required by Fed. R. Crim. P. 32.2(b)(6)(A);

Mr. Radziwanowicz filed a claim to the Subject Firearm, Dkt. No. 67, which
has been dismissed by the Court on the United States’ motion, Dkt. No. 85;
and

The time for filing third-party claims has expired, and no additional claims

were filed.

NOW, THEREFORE, THE COURT ORDERS:

No right, title, or interest in the Subject Firearm exists in any party other

than the United States:

The property is fully and finally condemned and forfeited, in its entirety, to

the United States: and

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Final Order of Forfeiture - 2

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

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3. The United States Department of Justice, Federal Bureau of Investigation,

and/or its representatives, are authorized to dispose of the property as permitted by

governing law.

IT IS SO ORDERED.

Mis
DATED this 5 day of

Presented by:

s/Jehiel I. Baer

JEHIEL I. BAER

Assistant United States Attorney
United States Attorney’s Office
700 Stewart Street, Suite 5220
Seattle, WA 98101

(206) 553-2242

Jehiel.Baer@usdoj.gov

Final Order of Forfeiture - 3
United States v. Sanford, CR19-172-JLR

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THE HON. JAMES L. ROBART
UNITED ST|ATES DISTRICT JUDGE
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